

















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS






NO. WR-70,593-01





EX PARTE DEMETRIUS DEWAYNE SMITH





ON APPLICATION FOR POST-CONVICTION WRIT OF HABEAS CORPUS


FILED IN CAUSE NO. 1021168 IN THE 183rd DISTRICT COURT


HARRIS COUNTY





	Per Curiam.  

O R D E R



	In June 2006, a jury found applicant guilty of the offense of capital murder.  The
jury answered the statutory punishment questions in such a way that the trial court set
applicant's punishment at death.  This Court affirmed applicant's conviction and sentence
on direct appeal. Smith v. State, No. AP-75,479 (Tex.Crim.App. May 6, 2009).  On
October 1, 2008, this Court remanded applicant's case to the trial court and ordered the
case returned to this Court on or before May 5, 2009.  It has been more than two years
since the application was remanded.  Accordingly, we order the trial court to resolve any
remaining issues within 90 days from the date of this order.  The clerk shall then transmit
the complete writ record to this Court within 120 days from the date of this order.  Any
extensions of time shall be obtained from this Court.

	IT IS SO ORDERED THIS THE 1ST DAY OF AUGUST, 2012

Do Not Publish


